    Case 16-41526        Doc 219        Filed 07/02/19 Entered 07/02/19 09:30:45
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                                                                                                   07/02/2019
                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                    §
                                                          §
JON BANGASH,                                              §              CASE NO. 16-41526-btr
                                                          §              Chapter 7
         Debtor.                                          §

                       ORDER GRANTING PROVISIONAL CLOSING OF
                      CHAPTER 11 CASE FOR AN INDIVIDUAL DEBTOR

        An Application for Final Decree or other motion seeking the final closing of this case has
been filed by Jon Bangash, the individual Chapter 11 Debtor. However, notwithstanding any
“substantial consummation” of the confirmed plan which may have occurred in this case,
11 U.S.C. § 1141(d)(5) now requires that all payments under a confirmed Chapter 11 plan be
completed as a prerequisite to the entry of an order of discharge for an individual Chapter 11
debtor. In this district, that discharge process is initiated by the filing of a “Notice of Plan
Completion by Individual Debtor in a Chapter 11 Case” which thereafter triggers other duties of a
Chapter 11 individual debtor to submit required statements under penalty of perjury. Thus, since
these actions have not yet occurred in this case, this case has not been “fully administered” under
11 U.S.C. § 350 and the entry of a Final Decree is premature and unjustified under the
circumstances.

        However, such circumstances do establish just cause to grant a provisional closing of this
case, subject to the subsequent filing by the Debtor of two documents: a Motion to Reopen1 and a
separate Notice of Plan Completion, both to be filed upon the completion of all payments required
to be made under the confirmed Chapter 11 plan. Accordingly, the Court finds that just cause
exists for entry of the following order.

      IT IS THEREFORE ORDERED that the above-referenced Chapter 11 case is
PROVISIONALLY CLOSED subject to its anticipated re-opening upon the completion of all
payments required to be made under the confirmed Chapter 11 plan.

         SIGNED:
                                                              Signed on 7/2/2019

                                                                                                       SR
                                                  HONORABLE BRENDA T. RHOADES,
                                                  UNITED STATES BANKRUPTCY JUDGE



1
  Such motion to reopen may properly contain a request for a waiver of any fee for reopening the case as an
“appropriate circumstance” for such waiver in that this case would not have been previously closed due to a dereliction
of any duty by the debtor.
